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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               8:13CR43
                 Plaintiff,
     vs.
                                                         ORDER
EDUARDO VALENZUELA-NUNEZ,
                 Defendant.


     IT IS ORDERED that:

     1.    The defendant's unopposed Motion to Continue Sentencing (filing
           321) is granted.

     2.    Defendant Eduardo Valenzuela-Nunez's sentencing is continued
           to Friday, July 25, 2014, at 2:30 p.m., before the undersigned
           United States District Judge, in Courtroom No. 1, Roman L.
           Hruska Federal Courthouse, 111 South 18th Plaza, Omaha,
           Nebraska. The defendant shall be present at the hearing.

     Dated this 9th day of April, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
